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         EXHIBIT A
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                                                                    E-FILED; Montgomery Circuit Court
                                           Docket: 12/28/2021 4:13 PM; Submission: 12/28/2021 4:13 PM




                               IN THE CIRCUIT COURT FOR
                            MONTGOMERY COUNTY, MARYLAND


WILLIAM KIRST AND CHRISTINA               Case No.:
KIRST Derivatively on Behalf of Nominal
Defendant NOVAVAX, INC.,
North Port, FL 34286                      VERIFIED STOCKHOLDER
                                          DERIVATIVE COMPLAINT
              Plaintiffs,
        V.



STANLEY C. ERCK
21 Firstfield Road                        JURY TRIAL DEMANDED
Gaithersburg, MD 20878

MARGARET G. MCGLYNN
21 Firstfield Road
Gaithersburg, MD 20878

RACHEL KING
21 Firstfield Road
Gaithersburg, MD 20878,

GREGG ALTON
21 Firstfield Road
Gaithersburg, MD 20878

JAMES F. YOUNG
21 Firstfield Road
Gaithersburg, MD 20878

RICHARD DOUGLAS
21 Firstfield Road
Gaithersburg, MD 20878

RAJIV I. MODI
21 Firstfield Road
Gaithersburg, MD 20878

MICHAEL A. MCMANUS, JR.
21 Firstfield Road
Gaithersburg, MD 20878




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DAVID MOTT
21 Firstfield Road
Gaithersburg, MD 20878

GREGORY F. COVINO
21 Firstfield Road
Gaithersburg, MD 20878

JOHN J. TRIZZINO
21 Firstfield Road
Gaithersburg, MD 20878

                Defendants,

                 And,

NOVAV AX, INC.
21 Firstfield Road
Gaithersburg, MD 20878

   SERVE ON RESIDENT AGENT:
   The Corporation Trust Incorporated
   2405 York Road, Suite 201
   Lutherville Timonium, MD 21093-2264

                Nominal Defendant.


         Plaintiffs William Kirst and Christina Kirst ("Plaintiffs"), by and through their

undersigned attorneys, brings this derivative complaint for the benefit of nominal defendant

Novavax, Inc. ("Novavax" or the "Company"), against its Board of Directors (the "Board") and

certain of its executive officers seeking to remedy defendants' breaches of fiduciary duties and

violations of federal law. Plaintiffs' allegations are based upon their personal knowledge as to

themselves and their own acts, and upon information and belief, developed from the

investigation and analysis by Plaintiffs' counsel, including a review of publicly available

information, including filings by Novavax with the U.S. Securities and Exchange Commission



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("SEC"), press releases, news reports, analyst reports, investor conference transcripts, publicly

available filings in lawsuits, and matters of public record.

                        NATURE AND SUMMARY OF THE ACTION

           1.   This is a shareholder derivative action that seeks to remedy wrongdoing

committed by the Company's directors and officers in their management and control of the

Company from March 2, 2021 to the present ("Relevant Period").

           2.   Novavax is a biotechnology company that focuses on the discovery, development,

and commercialization of vaccines to prevent serious infectious diseases and address health

needs. The Company's product candidates include, among others, NVX-CoV2373, which is in

development as a vaccine for COVID-19. Prior to the start of the Relevant Period, the Company

announced that it planned to complete Emergency Use Authorization ("EUA") submissions for

NVX-CoV2373 with the U.S. Food and Drug Administration ("FDA") in the second quarter of

2021.

          3.    As more fully discussed below, Defendants caused the Company to make

materially false and misleading statements regarding the Company's business, operations, and

prospects. Specifically, the Company made false and/or misleading statements and/or failed to

disclose that: (i) the Company overstated its manufacturing capabilities and downplayed

manufacturing issues that would impact its approval timeline for NVX-CoV2373; (ii) as a result,

the Company was unlikely to meet its anticipated EUA regulatory timelines for NVX-CoV2373;

(iii) accordingly, the Company overstated the regulatory and commercial prospects for NVX-

CoV2373; and (iv) as a result, the Company's public statements were materially false and

misleading at all relevant times.

          4.    On May 10, 2021, The Washington Post reported that the Company's EUA "filing


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was delayed by manufacturing regulatory issues, until June at the earliest, according to four

people who had recently been briefed on the [C]ompany's plans." Later that day, on a call that

the Company hosted with investors and analysts to discuss the Company's first quarter 2021

financial and operational results (the "1 Q21 Investor Call"), the Company confirmed that it was

unlikely to seek an EUA for NVX-CoV2373 in the U.S. until July 2021 at the earliest- i.e., the

third quarter of 2021.

          5.   Following publication of The Washington Post article, the Company's stock price

fell $15.50 per share, or 8.81%, to close at $160.50 per share on May 10, 2021. Moreover,

following the Company's 1Q21 Investor Call, the Company's stock price continued to fall an

additional $22. 32 per share, or 13. 91 %, to close at $13 8.18 per share on May 11, 2021.

          6.   On August 5, 2021, the Company issued a press release reporting its financial

results and operational highlights for the second quarter of 2021.         Among other news, the

Company reported that it expected to file for NVX-Co V23 73 's EU A in the fourth quarter of

2021, rather than the third quarter of 2021.

          7.   On this news, the Company's stock price fell $46.31 per share, or 19.61%, to

close at $189.89 per share on August 6, 2021.

         8.    Finally, on October 19, 2021, Politico published an article entitled '"They rushed

the prncess': Vaccine maker's woes hamper global inoculation campaign." The Politico article

reported that the Company "faces significant hurdles in proving it can manufacture a shot that

meets regulators' quality standards" with respect to NVX-CoV2373. The Politico article cited

anonymous sources as stating that the Company's "issues are more concerning than previously

understood" and that the Company could take until the end of 2022 to resolve its manufacturing

issues and win regulatory authorizations and approvals.


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          9.    On this news, the Company's stock price fell $23.69 per share, or 14.76%, to

close at $136.86 per share on October 20, 2021.

                                    JURISDICTION AND VENUE

          10.   This Court has jurisdiction over the claims asserted herein because the amount in

controversy exceeds the sum of $25,000, exclusive of interest and costs.

          11.   Venue is proper in this Court because the Company maintains its principal place

of business within Montgomery County, a substantial portion of the transactions and wrongs

complained of herein occurred in Montgomery County, and Defendants have received substantial

compensation in Montgomery County by doing business here and engaging in numerous

activities that had an effect in Montgomery County.

                                                   PARTIES
Plaintiffs

          12.   Plaintiffs purchased shares of Novavax stock during the Relevant Period and

continue to hold their N ovavax stock currently.

Nominal Defendant

          13.   Nominal Defendant Novavax is a Delaware corporation with principal executive

offices located at 21 Firstfield Road, Gaithersburg, Maryland 20878.

Director Defendants

          14.   Defendant Stanley C. Erck ("Erck") has served as the President and Chief

Executive Officer ("CEO") of the Company since April 2011. Defendant Erck has served as a

Company director since June 2009 and has served as its Executive Chairman of the Board

beginning in February 2010.

          15.   Defendant Margaret G. McGlynn ("McGlynn") has served on the Board since

2020.

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          16.   Defendant Rachel King ("King") has served on the Board since 2018.

          17.   Defendant Gregg Alton ("Alton") has served on the Board since November 2020.

          18.   Defendant James F. Young ("Young") has served on the Board since April 2010

and was appointed Chairman in April 2011.

          19.   Defendant Richard Douglas ("Douglas") has served on the Novavax Board since

2010.

          20.   Defendant Rajiv L Modi ("Modi") has served on the Board since 2009.

          21.   Defendant Michael A. McManus, Jr. ("McManus") has served on the Board

since 1998.

          22.   Defendant David Mott ("Mott") has served on the Board since 2009. Defendant

Mott is currently a private investor through Mott Family Capital and Defendant Mott was given

approximately 65,000 shares of Company common stock prior to his appointment to the Board.

On September 23, 2021, while the Company's securities traded at artificially inflated prices,

Defendant Mott personally profited by selling 24,961 shares of common stock at a weighted

average price of $253 per share, on the basis of adverse, material nonpublic information about

the Company thereby pocketing about $6.3 million in illegal insider trading proceeds. At the

time Defendant Mott made his sale, it was the biggest sale of Novavax shares made by an insider

individual in the last twelve months.

         23.    Defendants Erck, McGlynn, King, Alton, Young, Douglas, Modi, McManus and

Mott are herein referred to as the "Director Defendants." Because of their positions with the

Company, they possessed the power and authority to control the contents of the Company's

reports to the SEC, press releases and presentations to securities analysts, money and portfolio

managers and institutional investors, i.e., the market. The Director Defendants were provided


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with copies of the Company's reports and press releases alleged herein to be misleading prior to,

or shortly after, their issuance and had the ability and opportunity to prevent their issuance or

cause them to be corrected.       Because of their positions and access to material non-public

information available to them, the Director Defendants knew that the adverse facts specified

herein had not been disclosed to, and were being concealed from, the public, and that the positive

representations which were being made were then materially false and/or misleading. The

Director Defendants are liable for the false statements pleaded herein.

Officer Defendants

          24.   Defendant Gregory F. Covino ("Covino") served as the Company's Chief

Financial Officer ("CFO") and Executive Vice President ("EVP") from November 2020 until

April 2021 when he stepped down for "personal reasons."

          25.   Defendant John J. Trizzino ("Trizzino") served as the Company's Interim CFO

from April 12, 2021 to August 16, 2021. Defendant Trizzino also serves as the Company's

Chief Commercial Officer, Chief Business Officer, and an EVP.

          26.   The Director Defendants and Defendants Covino and Trizzino are collectively

referred to herein as "Individual Defendants".

                            THE AUDIT COMMITTEE CHARTER

         27.    The Audit Committee's responsibilities are to assist the Board in in fulfilling its

responsibilities for oversight. The Company's Audit Committee Charter states in relevant part:

         the Company's accounting and financial reporting processes; the preparation,
         presentation and integrity of the financial reports and other financial information
         provided by the Company to any government or regulatory body, the public or
         other users thereof; the adequacy and efficacy of the Company's systems of
         internal accounting, auditing and financial controls, the Company's compliance
         with legal and regulatory requirements; the conduct, independence and
         qualifications of the Company's independent auditor; the performance of the
         annual independent audit of the Company's financial statements; the Company's

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          compliance with applicable federal and state laws and regulations; and the
          implementation and operation of the Company's corporate compliance program
          (the "Compliance Program").

          28.   The Audit Committee Charter further states:

         Financial Statements and Disclosures

         •        The Committee shall review with management and the independent
         auditor the audited financial statements to be included in the Company's Annual
         Report on Form 10-K (or the Annual Report to Stockholders if distributed prior to
         the filing of the Form 10-K) and the report thereon, and including any disclosures
         with respect thereto in Management's Discussion and Analysis, and review and
         consider with the independent auditor the matters required to be discussed by
         PCAOB Auditing Standard No. 1301, Communications with Audit Committees,
         and any other applicable requirements of the PCAOB. Such review shall take
         place prior to the publication of the annual audited financial statements, and the
         Committee shall make its recommendation to the Board with respect to their
         inclusion in the Company's Annual Report on Form 10-K or Annual Report to
         Stockholders, as appropriate.

         •      As a whole, or between meetings through the Committee Chair, the
         Committee shall review with the independent auditor the Company's interim
         financial results to be included in the Company's quarterly reports to be filed with
         the SEC, and including any disclosures with respect thereto in Management's
         Discussion and Analysis, and the matters required to be discussed by applicable
         requirements of the PCAOB. Such review will occur prior to the Company's
         publication of the interim financial results.

         •      The Committee, as a whole, or between meetings through the Committee
         Chair, shall review with management and the independent auditor the Company's
         earnings press releases, including the type of infonnation to be included and its
         presentation, and the use of any pro forma, adjusted or other non-GAAP financial
         information, prior to their release to the public.

         •       The Committee shall discuss with management and the independent
         auditor any significant issues regarding the accounting principles, practices and
         judgments made in connection with the preparation of the Company's financial
         statements. In this regard, the Committee shall obtain and review a report from
         the independent auditor regarding all critical accounting policies and practices to
         be used in the Company's financial statements and any major changes thereto, all
         alternative treatments of financial information within GAAP that have been
         discussed with management, the ramifications of the use of such alternative
         disclosures and treatments and the treatment preferred by the independent auditor,
         and other material written communications between the independent auditor and
         management.

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          •     The Committee shall review the Company's disclosure controls and
          procedures, and management's assessment thereof.

          •     As necessary, the Committee shall review with the independent auditor
          and management:

                 significant financial reporting issues and judgments made in connection
                 with the preparation of the Company's financial statements;
                  the clarity of the financial disclosures made by the Company;
                 potential changes in GAAP and other regulatory and accounting initiatives,
                 and their effects on the Company's financial statements; and
          - the effect of any off-balance sheet structures and aggregate contractual
          obligation on the Company's financial statements.

Internal Controls

         •       The Committee shall review and discuss with management, internal audit
         staff (or other personnel responsible for the internal audit function) and the
         independent auditor the quality, adequacy and effectiveness of the Company's
         accounting, financial and other internal controls and procedures, and elicit
         recommendations for both the improvement of existing controls and adoption of
         new controls, including any special steps or remedial measures adopted in light of
         material control weaknesses or significant deficiencies and, to the extent
         applicable, the Company's internal controls report and the independent auditor's
         internal controls report prior to the filing of any Annual Report on Form 10-K
         required to be filed by the Company with the SEC.

         •       The Committee shall obtain from management and the independent auditor
         and review the disclosures made in connection with the certification process
         regarding the effectiveness of the Company's internal control structure and
         procedures for financial reporting, including (i) all significant deficiencies and
         material weaknesses in the design and operation of internal controls over financial
         reporting, (ii) any fraud (whether or not material) that involves management or
         other employees having a significant role in the Company's internal controls over
         financial reporting, (iii) all changes to internal controls over financial reporting,
         including corrective actions, since the last Annual Report on Form 10-K or
         Quarterly Report on Form 10-Q, as applicable, and (iv) to the extent applicable,
         any disclosures made during the certification process for the Annual Report on
         Form 10-K and any Quarterly Report on Fonn 10-Q.

         Internal Audit Oversight

                  With respect to the Company's internal audit function, the Committee
         shall:


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                review and discuss with the principal internal auditor of the Company
                regular reports from the principal internal auditor to the Committee on the
                scope and the results of the work performed by the internal audit function;
                review the significant reports to management prepared by the internal audit
                function and management's responses;
                at least annually review and discuss with the principal internal auditor of
                the Company and management the annual internal audit plan and the
                adequacy of internal audit resources (including with respect to budget and
                staffing), the performance and effectiveness of the internal audit function,
                and any recommended changes in the planned scope of the internal audit;
                and
                review and concur in the appointment, and dismissal and replacement
                when appropriate, of the principal internal auditor, and the compensation
                of the principal internal auditor.
          Compliance Oversight and Reporting

         •       The Committee shall oversee the establishment of procedures for the
         receipt, retention, and treatment of complaints received by the Company
         regarding accounting, internal accounting controls and auditing matters, the
         confidential and anonymous submission by employees of the Company of
         concerns regarding questionable accounting or auditing matters, and the operation
         of a whistle blower's communication system allowing employees, officers,
         directors and the general public to make reports about potential legal and
         compliance violations, including anonymous reports where permitted by law.

         •      The Committee shall review with the Company's Chief Legal Officer
         and/or outside counsel legal matters that may have material impact on the
         financial statements, the Company's compliance with legal and regulatory
         requirements, and material violations of the Company's Code of Business
         Conduct and Ethics, as well as any material reports or inquiries received from, or
         correspondence with, regulators or governmental agencies.

         •      The Committee shall ensure that the Company maintains a written Code of
         Business Conduct and Ethics and other policies and procedures that effectively
         address the Company's compliance obligations, avoidance of conflicts of interest,
         and other related matters. The Committee, in consultation with the Chief
         Compliance Officer or other Compliance Program officials, shall recommend to
         the Board any changes to the Code of Business Conduct and Ethics deemed
         necessary or appropriate by the Committee.

         •      The Committee shall review and discuss with the Chief Legal Officer and
         Chief Compliance Officer an annual plan for the Company's Compliance
         Program and monitor such plan's progress and results during the year through
         regular reports from the Chief Legal Officer and Chief Compliance Officer to the
         Committee on the Company's Compliance Program.


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         •      The Committee shall ensure that the Company, led by the Compliance
         Program, promptly responds to detected instances of non-compliance and takes
         appropriate corrective actions, including, where appropriate, employee discipline,
         the adoption of preventative measures, and reporting of non-compliance to
         relevant government authorities.

         Risk Assessment and Risk Management

         •       The Committee shall periodically (but no less than annually) review and
         discuss guidelines and policies by which the Company undertakes risk assessment
         and risk management and discuss with management the Company's major
         financial risk exposures and the steps taken or to be taken to monitor and control
         such exposures, including the Company's risk assessment and risk management
         policies.

         •     The Committee shall oversee the establishment of an Enterprise Risk
         Management ("ERM") system by the Legal Department and the Compliance
         Program and at least annually, receive and review the findings of the Legal
         Department's annual ERM review.

                             FALSE AND MISLEADING STATEMENTS

         29.    On March 1, 2021, the Company filed an annual report on Form 10-K with the

SEC, reporting the Company's financial and operating results for quarter and year ended

December 31, 2020 (the "2020 10-K"). The 2020 10-K stated: "We ... plan to file submissions

for [EUA] with the FDA and expect to complete our EUA filing in the second quarter of 2021."

         30.    The 2020 10-K also stated that "[w]ith respect to the global manufacturing and

supply of NVX-CoV2373, we have secured manufacturing for our antigen component and

Matrix-M adjuvant, as well as secured fill/finish activities for NVX-CoV2373 at several sites

globally"; that "[t]hrough our various manufacturing partnerships, we expect our projected

global manufacturing production rate of NVX-CoV2373 to be over two billion doses annually

when we are at full capacity, which we expect to occur in mid-2021 "; and that "[t]hese additional

partnerships will further increase our production capacity and are expected to support a rapid

roll-out ofNVX-CoV2373 globally."


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          31.   In addition, the 2020 10-K stated that "we anticipate bringing our NVXCo V23 73

vaccine candidate to market following global regulatory approvals which, if achieved, should

significantly impact revenue"; that, "[i]n anticipation, we have entered into various APAs

[advance purchase agreements] with government customers that are expected to result in the

delivery of approximately 200 million doses of NVX-CoV2373 throughout 2021 and into the

first half of 2022"; and that "[ w]e also entered into multiple supply and license agreements with

strategic partners to supply NVX-Co V23 73 in their specified territories under which we are

entitled to receive royalty revenue from the sale ofNVX-CoV2373 by such partners."

          32.   Appended as exhibits to the 2020 10-K were signed certifications pursuant to the

Sarbanes-Oxley Act of 2002 ("SOX"), wherein Defendants Erck and Covino certified that "[t]he

[2020 10-K] fully complies with the requirements of Section 13(a) or 15(d) of the Securities

Exchange Act of 1934, as amended[,]" and that "[t]he information contained in the [2020 10-K]

fairly presents, in all material respects, the financial condition and results of operations of the

Company for the dates and periods covered by the [2020 10-K]."

         33.    On March 2, 2021, the Company issued a press release, announcing its fourth

quarter and full year 2020 financial results and operational highlights (the "03/02/2021 Press

Release"). That press release stated, in relevant part, that the Company "[e]ngaged in ongoing

dialogue with [the FDA] ... with potential for EUA filing in the second quarter of 2021 "; that

the Company "[i]ncreased projected global manufacturing capacity to over 2 billion annualized

doses when at full-capacity, expected to occur in mid-2021[,]" with "[a]pproximately one billion

doses to be manufactured by Serum Institute of India Private Limited (SIIPL)"; that the

Company "[ c]ompleted collaborations for global manufacturing, commercialization and




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distribution ofNVX-CoV2373"; and that the Company "[s]ecured agreements for approximately

200 million doses ofNVX-CoV2373[.]"

             34.   The 03/02/2021 Press Release also quoted Defendant Erck, who stated that

"Novavax continues to make significant strides towards bringing NVX-CoV2373 ... to market";

that "[w]e believe [NVX-CoV2373's] attributes support [EUA] and have initiated dialogue with

regulators to pursue appropriate regulatory authorization"; that "we have secured agreements for

the delivery of approximately 300 million doses of NVX-CoV2373"; that "we are proud to

partner with the Serum Institute of India to jointly supply 1.1 billion doses of NVXCo V2373 to

Gavi through the COVAX Facility"; and that "[w]e continue to work tirelessly to make final

commercial preparations in advance of delivering our product across the globe."

             35.   The statements referenced above were materially false and misleading because

Defendants caused the Company to make false and/or misleading statements and/or failed to

disclose that: (i) the Company overstated its manufacturing capabilities and downplayed

manufacturing issues that would impact its approval timeline for NVX-CoV2373; (ii) as a result,

the Company was unlikely to meet its anticipated EUA regulatory timelines for NVX-CoV2373;

(iii) accordingly, the Company overstated the regulatory and commercial prospects for NVX-

CoV2373; and (iv) as a result, the Company's public statements were materially false and

misleading at all relevant times.

                              THE TRUTH PARTIALLY EMERGES

             36.   On May 10, 2021, The Washington Post reported that the Company's EUA "filing

was delayed by manufacturing regulatory issues, until June at the earliest, according to four

people who had recently been briefed on the [C]ompany's plans." Specifically, The Washington

Post reported that "[t]he delay is due in part to a regulatory manufacturing issue related to an


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assay," according to the people briefed on the trial status, which "are tests used throughout the

manufacturing process to check the contents and quality of vaccines."

          37.   Later that day, on the Company's 1Q21 Investor Call, the Company confirmed

that it was unlikely to seek EUA for NVX-CoV2373 in the U.S. until July 2021 at the earliest-

i.e., the third quarter of 2021.

          38.   Following publication of The Washington Post article, the Company's stock price

fell $15.50 per share, or 8.81%, to close at $160.50 per share on May 10, 2021. Moreover,

following the Company's 1Q21 Investor Call, the Company's stock price continued to fall an

additional $22.32 per share, or 13 .91 %, to close at $13 8.18 per share on May 11, 2021. Despite

these declines in the Company's stock price, the Company's securities continued to trade at

artificially inflated prices because of its continued misstatements and omissions regarding NVX-

CoV2373 's EUA regulatory timeline, as well as the Company's manufacturing capabilities and

manufacturing issues that were likely to impact the approval timeline for NVX-CoV2373.

          39.   For example, on May 10, 2021, the Company issued a press release reporting the

Company's first quarter 2021 financial results and operational highlights (the "05/10/2021 Press

Release"). That press release stated that the Company "[s]ecured additional manufacturing

capacity for NVX-CoV2373           globally, with continued progress toward achieving full

manufacturing capacity"; that the Company's "[a]nticipated capacity [is] revised to 100 million

doses per month by the end of the third quarter of 2021, with remainder of capacity expected to

come online in the fourth quarter to support 150 million doses per month"; that "[the Company

is] to manufacture and distribute 350 million doses to participants of the COVAX Facility"; that

the Company "[p]rogressed regulatory processes for authorization of NVX-CoV2373 with




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multiple regulatory agencies globally"; and that the Company "[i]ntend[ s] to file for

authorization with the [FDA] ... in the third quarter of2021[.]"

         40.   The 05/10/2021 Press Release also quoted Defendant Erck, who stated that

"Novavax made great strides over the first quarter to pave the path for our COVID-19 vaccine

candidate, NVX-CoV2373"; that, "[i]n parallel, we have secured additional manufacturing and

supply agreements, expanding our global supply chain to over 10 countries"; that, "[i]n the

coming months, we look forward to delivering on critical milestones, including [inter alia] ...

completing our regulatory submissions"; and that, "[a]s we continue our dialogue with regulatory

authorities for authorization, we remain committed to promptly delivering our vaccine globally,

ensuring equitable access and expansive distribution."

         41.   That same day, the Company also filed a quarterly report on Form 10-Q with the

SEC, reporting its financial and operating results for the quarter ended March 31, 2021 (the

"1Q21 10-Q"). The 1Q21 10-Q stated that "[a]s of May 2021, we continue to work to complete

various CMC [chemistry, manufacturing, and controls] requirements, which ensure that our

manufacturing processes are in accordance with regulatory standards"; and that "[w ]e plan to file

submissions for [EUA] with the FDA and aim to complete our EUA filing [for NVX-CoV2373]

in the third quarter of 2021."

         42.   With respect to the Company's manufacturing capabilities for NVX-CoV2373,

the 1Q21 10-Q stated that "[w]e have established a global manufacturing and supply chain to

support the commercialization of NVX-CoV2373"; that "[w]ith significant progress made

throughout 2020 and through the first quarter of 2021, our global supply chain now spans over

10 countries and includes Novavax owned facilities in the Czech Republic and Sweden, as well

as partnerships with contract manufacturing organizations around the world"; that "[i]n the first


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quarter of 2021, we took additional steps to expand our global supply chain and ready our

company for commercialization[,]" which "included securing additional manufacturing capacity

for NVX-CoV2373, as well as furthering existing collaborations with manufacturing partners

globally"; and that "[i]n the quarter, we also continued to advance CMC activities[,]" including

"ongoing analytical testing and product characterization, as well as the qualification and

validation of assays needed to demonstrate process consistency across our network of

manufacturing facilities."

          43.   The 1Q21     10-Q further assured the market that "we expect our global

manufacturing capacity of NVX-Co V23 73 to be approximately 100 million doses per month by

the end of the third quarter of 2021 "; that "[ w]e anticipate the remainder of our manufacturing

capacity will come online in the fourth quarter of 2021, which we expect will support total global

manufacturing capacity of approximately 150 million doses per month"; that "[i]n April 2021,

our Base Agreement and a Project Agreement (together, the 'OWS Agreement') ... was

amended to fully fund the agreement up to $1. 75 billion to support certain activities related to the

development of NVX-CoV2373[,]" including "the manufacture and delivery of 100 million

doses of NVX-CoV2373 to the U.S. government"; and that "[w]e expect this funding will assist

in rapidly developing our large-scale manufacturing capacity and transitioning into ongoing

production, including the capability to stockpile and distribute large quantities of NVX-CoV2373

for use in clinical trials and potentially for commercial sale, if authorized for emergency use or

licensed."

         44.    Appended as exhibits to the 1Q21 10-Q were substantively the same SOX

certifications as referenced above, signed by Defendants Erck and Trizzino.




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          45.    The statements referenced above were materially false and misleading because the

Defendants caused the Company to make false and/or misleading statements and/or failed to

disclose that:     (i) Novavax overstated its manufacturing capabilities and downplayed

manufacturing issues that would impact its approval timeline for NVX-CoV2373; (ii) as a result,

the Company was unlikely to meet its anticipated EUA regulatory timelines for NVX-CoV2373;

(iii) accordingly, the Company overstated the regulatory and commercial prospects for NVX-

CoV2373; and (iv) as a result, the Company's public statements were materially false and

misleading at all relevant times.

          46.    On August 5, 2021, the Company issued a press release reporting its second

quarter 2021 financial results and operational highlights (the "08/05/2021 Press Release").

Among other news, the Company reported that it "[e]xpect[s] to submit for [EUA] to the [FDA

for NVX-CoV2373] in the fourth quarter of2021[,]" rather than the third quarter of 2021.

          47.    On this news, the Company's stock price fell $46.31 per share, or 19.61 %, to

close at $189.89 per share on August 6, 2021. Despite this decline in the Company's stock price,

the Company' securities continued to trade at artificially inflated prices because of the continued

misstatements and omissions regarding NVXCo V23 73 's EUA regulatory time line, as well as the

Company's manufacturing capabilities and manufacturing issues that were likely to affect the

approval time line for NVX-Co V23 73.

         48.     For example,       the 08/05/2021    Press Release   stated that the    Company

"[ c]ollaborated with partners globally to progress toward anticipated manufacturing capacity"

and that the Company is "[o]n track to achieve capacity of 100 million doses per month by the

end of the third quarter of 2021 and 150 million doses per month by the end of the fourth quarter

2021[.]"


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          49.   The 08/05/2021 Press Release also quoted Defendant Erck, who stated that "[w]e

are highly encouraged by the filing of regulatory submissions in multiple markets, made in

partnership with Serum Institute oflndia[,]" and that "[ wJe view these submissions as the first of

many filings to come, which will allow NVX-CoV2373 to be made available at a global scale[.]"

          50.   On August 5, 2021, Defendants caused the Company to file a quarterly report on

Form 10-Q with the SEC, reporting the Company's financial and operating results for the quarter

ended June 30, 2021 (the "2Q21 10-Q"). The 2Q21 10-Q stated that "[a]s of August 2021, we

continue to work to complete various Chemistry, Manufacturing and Controls ('CMC')

requirements, which ensure that our manufacturing processes are in accordance with regulatory

standards"; that "[ f]unding under the OWS Agreement is expected to support our plans to file

submissions for EUA and licensure with the FDA"; that "[t]he U.S. government has recently

instructed us to prioritize alignment with the FDA on our analytic methods before conducting

additional U.S. manufacturing"; and that "[t]he U.S. government also instructed us to proceed

with work under the OWS Agreement related to all other activities including [inter aha] ...

regulatory interactions, analytics/assays and characterization of manufactured vaccine and

project management."

         51.    With respect to the Company's manufacturing capabilities for NVX-CoV2373,

the 2Q20 10-Q stated that "[ w]e have established a global manufacturing and supply chain to

support the commercialization of NVX-CoV2373"; that "[w]ith significant progress made

throughout 2020 and through the second quarter of 2021, our global supply chain spans over ten

countries and includes Novavax-owned facilities in the Czech Republic and Sweden, as well as

partnerships with contract manufacturing organizations around the world"; that, "[i]n the second

quarter of 2021, we remained focused on readying our global supply chain for commercialization


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m order to ensure we promptly deliver NXV-CoV2373 upon anticipated regulatory

authorizations"; that "[w]e expect our global manufacturing capacity of NVXCoV2373 to be

approximately 100 million doses per month by the end of the third quarter of 2021 "; and that

"[w]e anticipate the remainder of our manufacturing capacity will be ready by the end of the

fourth quarter of 2021, which we expect will support total global manufacturing capacity of

approximately 150 million doses per month."

          52.   Appended as exhibits to the 2Q21 10-Q were substantively the same SOX

certifications as referenced above, signed by Defendants Erck and Trizzino.

          53.   The statements referenced above were materially false and misleading because the

Defendants caused the Company to make false and/or misleading statements and/or failed to

disclose that: (i) the Company overstated its manufacturing capabilities and downplayed

manufacturing issues that would impact its approval timeline for NVX-CoV2373; (ii) as a result,

the Company was unlikely to meet its anticipated EUA regulatory timelines for NVX-CoV2373;

(iii) accordingly, the Company overstated the regulatory and commercial prospects for NVX-

CoV2373; and (iv) as a result, the Company's public statements were materially false and

misleading at all relevant times.

                               THE TRUTH FULLY EMERGES

         54.    On October 19, 2021, Politico published an article entitled '"They rushed the

process': Vaccine maker's woes hamper global inoculation campaign."           The Politico article

reported that the Company "faces significant hurdles in proving it can manufacture a shot that

meets regulators' quality standards" with respect to NVX-Co V23 73. The Politico article also

cited anonymous sources as stating that the Company's "issues are more concerning than




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previously understood" and that the Company could take until the end of 2022 to resolve its

manufacturing issues and win regulatory authorizations and approvals.

          55.   Specifically, the Politico article reported that the Company's "delay, which was

confirmed by three other people familiar with the discussions between Maryland-based Novavax

and the Biden administration, represents a major setback in the effort to vaccinate the world in

the wake of new, more transmissible variants." For example, according to the Politico article,

the Company "has consistently run into production problems[,]" including "[t]he methods it used

to test the purity of the vaccine[,]" which "have fallen short of regulators' standards" as the

Company "has not been able to prove that it can produce a shot that is consistently up to snuff,

according to multiple people familiar with Novavax's difficulties."

          56.   The Politico article also reported that "[a]lthough Novavax recently attested to

some of its analytics and testing issues in a quarterly filing with the [SEC], the [C]ompany's

issues are more concerning than previously understood, according to. two of the people with

direct knowledge of the matter . "   For example, while "it is generally understood that each

[COVID-19] vaccine batch should reach at least 90 percent" in terms of purity levels, the
                                               I
Company "has struggled to attain anywhere close to that, one of the people with direct

knowledge of the situation said[,]" and, according to "[a]nother person familiar with the

[C]ompany's manufacturing process[,]" the Company "has recently shown purity levels hovering

around 70 percent."

         57.    Moreover, the Politico article revealed that Novavax's manufacturing issues were

so severe that they strained global COVID-19 vaccination efforts. For example, with respect to

the COVID-19 Vaccines Global Access initiative, also known as COYAX, the Politico article

found that "[t]he global coalition is already behind on hundreds of millions of planned doses this


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month" and "is now also at risk of missing its already downgraded 2021 target." The Politico

article also quoted the director of the Duke Global Health Innovation Center, who stated:

"COVAX continues to be challenged for adequate supply . . . in that context, Novavax's

manufacturing challenges and delays have been massively disruptive[.]"

          58.      The Politico article also found that the Company was already aware of specific

concerns        with   NVX-CoV2373's     manufacturing   process,   stating that   "senior Trump

administration officials on Operation Warp Speed ... repeatedly warned the [C]ompany that it

risked running into problems in scaling up manufacturing of the shot, two people with direct

knowledge of those discussions said"; that, "[i]n particular, they worried that Novavax would

have difficulty ensuring that the vaccine consistently met the FDA's rigorous quality standards

once the vaccine went into mass production -          the exact problem that has now stymied the

company for months"; and that Novavax "rnshed the process" and "can't make" the vaccine,

according to one of the people with knowledge of the matter.

          59.      Finally, the Politico article revealed that, even as Defendants repeatedly

downplayed NVX-CoV2373's manufacturing issues, the U.S. government's confidence in the

Company's ability to successfully manufacture the drug had waned. For example, the Politico

article stated, inter alia:

         U.S. officials working with the [C]ompany are not as confident [as Novavax is in
         its manufacturing capabilities], according to three people with knowledge of the
         matter. Novavax's manufacturing problems are seen as far more difficult to fix
         than the sanitary and design concerns that halted production of J&J's vaccine at
         the Emergent plant earlier this year, those people said.

         And even as the [C]ompany begins to seek regulatory approval in other countries,
         there remains doubt in the U.S. that it has solved the fundamental vaccine purity
         flaws that the people with knowledge said have affected its ability to make doses
         at plants around the world.



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          Several vaccine batches have already been discarded, and four people with
          knowledge of the matter say U.S. officials now no longer expect the [C]ompany
          to win FDA sign-off on the vaccine until next year at the earliest.

          "At some level, I think the efficacy was never going to outweigh the risk
          associated with the impurity that was in there," said one of the people with
          knowledge of the matter. "I'm not surprised this is where we are."

          60.    On this news, the Company's stock price fell $23.69 per share, or 14.76%, to

close at $136.86 per share on October 20, 2021.

                         DUTIES OF THE DIRECTOR DEFENDANTS

          61.    By reason of their positions as officers and/or directors of the Company, and

because of their ability to control the business and corporate affairs of the Company, the Director

Defendants owed the Company and its investors the fiduciary obligations of trust, loyalty, and

good faith.     The obligations required the Director Defendants to use their utmost abilities to

control and manage the Company in an honest and lawful manner. The Director Defendants

were and are required to act in furtherance of the best interests of the Company and its investors.

          62.    Each director of the Company owes to the Company and its investors the fiduciary

duty to exercise loyalty, good faith, and diligence in the administration of the affairs of the

Company and in the use and preservation of its property and assets. In addition, as officers

and/or directors of a publicly held company, the Director Defendants had a duty to promptly

disseminate accurate and truthful information regarding the Company's operations, finances, and

financial condition, as well as wesent and future business prospects, so that the market price of

the Company's stock would be based on truthful and accurate information.

          63.    To discharge their duties, the officers and directors of the Company were required

to exercise reasonable and prudent supervision over the management, policies, practices, and




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controls of the affairs of the Company. By virtue of such duties, the officers and directors of the

Company were required to, among other things:

                 (a)          ensure that the Company complied with its legal obligations and

          requirements, including acting only within the scope of its legal authority and

          disseminating truthful and accurate statements to the SEC and the investing public;

                 (b)          conduct the affairs of the Company in an efficient, businesslike

          manner so as to make it possible to provide the highest quality performance of its

          business, to avoid wasting the Company's assets, and to maximize the value of the

          Company's stock;

                 (c)          properly and accurately guide investors and analysts as to the true

          financial condition of the Company at any given time, including making accurate

          statements about the Company's business prospects, and ensuring that the Company

         maintained an adequate system of financial controls such that the Company's financial

         reporting would be true and accurate at all times;

                 (d)          remain informed as to how the Company conducted its operations,

         and, upon receipt of notice or information of imprudent or unsound conditions or

         practices, make reasonable inquiries in connection therewith, take steps to correct such

         conditions or practices, and make such disclosures as necessary to comply with federal

         and state securities laws;

                 (e)          ensure that the Company was operated in a diligent, honest, and

         prudent manner in compliance with all applicable federal, state and local laws, and rules

         and regulations; and

                 (f)         ensure that all decisions were the product of independent business


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         judgment and not the result of outside influences or entrenchment motives.

          64.   Each Director Defendant, by virtue of his or her position as a director and/or

officer, owed to the Company and to its shareholders the fiduciary duties of loyalty, good faith,

and the exercise of due care and diligence in the management and administration of the affairs of

the Company, as well as in the use and preservation of its property and assets. The conduct of

the Director Defendants complained of herein involves a knowing and culpable violation of their

obligations as directors and officers of the Company, the absence of good faith on their part, and

a reckless disregard for their duties to the Company and its shareholders that the Director

Defendants were aware, or should have been aware, posed a risk of serious injury to the

Company.

         65.    The Director Defendants breached their duties of loyalty and good faith by

causing the Company to issue false and misleading statements concerning the business results

and prospects of the Company. As a result, the Company has expended, and will continue to

expend, significant sums of money related to investigations and lawsuits.

                 DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

         66.    Plaintiffs bring this action derivatively in the right and for the benefit of the

Company to redress injuries suffered and to be suffered as a direct and proximate result of the

breaches of fiduciary duties by the Director Defendants.

         67.    Plaintiffs will adequately and fairly represent the interests of the Company in

enforcing and prosecuting its rights and retained counsel competent and experienced in

derivative litigation.

         68.    During the illegal and wrongful course of conduct at the Company and to the

present, the Board consisted of Defendants Erck, McGlynn, King, Alton, Young, Douglas, Modi,


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McManus and Mott. Because of the facts set forth throughout this Complaint, demand on the

Company Board to institute this action is not necessary because such a demand would have been

a futile and useless act.

          69.   The Director Defendants either knew or should have known of the false and

misleading statements that were issued on the Company's behalf and took no steps in a good

faith effort to prevent or remedy that situation.

         70.    The Director Defendants (or at the very least a majority of them) cannot exercise

independent objective judgment about whether to bring this action or whether to vigorously

prosecute this action. For the reasons that follow, and for reasons detailed elsewhere in this

complaint, Plaintiffs have not made (and should be excused from making) a pre-filing demand

on the Board to initiate this action because making a demand would be a futile and useless act.

         71.    Each of the Director Defendants approved and/or permitted the wrongs alleged

herein to have occurred and participated in efforts to conceal or disguise those wrongs from the

Company's stockholders or recklessly and/or with gross negligence disregarded the wrongs

complained of herein and are therefore not disinterested parties.

         72.    Each of the Director Defendants authorized and/or permitted the false statements

to be disseminated directly to the public and made available and distributed to shareholders,

authorized and/or permitted the issuance of various false and misleading statements, and are

principal beneficiaries of the wrongdoing alleged herein, and thus, could not fairly and fully

prosecute such a suit even if they instituted it.

         73.    Additionally, each of the Director Defendants received payments, benefits, stock

options, and other emoluments by virtue of their membership on the Board and their control of

the Company.


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Defendant Mott

          74.   Defendant Mott personally benefited from the Individual Defendants' false and

misleading statements by having the opportunity to sell shares of Novavax stock at artificially

inflated prices, a benefit not shared by the rest of Novavax stockholders.

Defendant Erck

          75.   Because of his CEO and President position with the Company, Defendant Erck is

not independent.

          76.   The Company provides Defendant Erck with his principal occupation, and he

received handsome compensation for his services.         Defendant Erek's compensation m this

position, he received $48,086,018 and $2,438,562 for years 2020 and 2019, respectively. These

amounts are material to Defendant Erck.

          77.   Defendant Erck was responsible for most of the false and misleading statements

and omissions that were made, including those contained in the Company's SEC filings

referenced herein, many of which he either personally made or signed off on.

          78.   Defendant Erck is also a Defendant in the securities class action entitled

Sothinathan Sinnathurai v. Novavax, Inc., et al., Case No.: 8:21-cv-02910-TDC (D. Md.) (the

"Securities Class Action") and faces a substantial likelihood of liability; therefore, demand on

Defendant Erck is futile.

Defendants Alton, Douglas and McManus

          79.   Defendants Alton, Douglas, and McManus served as members of the Audit

Committee during the Relevant Period. Pursuant to the Audit Committee Charter, the Audit

Committee Defendants were responsible for, inter alia, the effectiveness of the Company's

internal controls, the integrity of its financial statements, and aspects of risk management and

legal and regulatory compliance that may affect the Company's financial reporting. Defendants
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Alton, Douglas, and McManus failed to ensure the integrity of the Company's internal controls,

as they are charged to do under the Audit Committee Charter and to issue false and misleading

financial statements with the SEC. Thus, Defendants Alton, Douglas, and McManus breached

their fiduciary duties, are not disinterested, and demand is excused as to them.

Defendant Modi

          80.   Defendant Modi lacks independence because of his personal involvement with the

Company. Defendant Modi is the managing director of Cadila Pharmaceuticals, Ltd. ("Cadila").

Novavax and Cadila have formed a joint venture called CPL Biologicals Private Limited, of

which Novavax owns 20% and Cadila owns the remaining 80%.                As of April 19, 2021, a

subsidiary of Cadila owns 125,000 shares of the Company's outstanding common stock.

                                            COUNTI

      (Against Defendant Mott for Insider Selling and Misappropriation of Information)

          81.   Plaintiffs incorporate by reference and reallege each and every allegation

contained above, as though fully set forth herein.

          82.   At the time of his stock sales set forth herein, defendant Mott knew of the

information described above, and sold Novavax common stock on the basis of such information.

          83.   The information described above was proprietary non-public information

concerning the Company. It was a proprietary asset belonging to the Company, which Mott used

for his own benefit when he sold Novavax common stock.

          84.   Defendant Mott's sales of Company common stock while in possession and

control of this material adverse non-public infonnation was a breach of his fiduciary duties of

loyalty and good faith.




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          85.    Since the use of the Company's proprietary information for their own gam

constitutes a breach of defendant Mott's fiduciary duties, the Company is entitled to the

imposition of a constructive trust on any profits defendant Mott obtained thereby.

                                               COUNT II

                (Against The Director Defendants For Breach Of Fiduciary Duty)

          86.   Plaintiffs incorporate by reference and reallege each and every allegation

contained above, as though fully set forth herein.

          87.   The Director Defendants owed the Company fiduciary obligations. By reason of

their fiduciary relationships, the Director Defendants owed the Company the highest obligation

of good faith, fair dealing, loyalty, and due care.

         88.    The Director Defendants violated and breached their fiduciary duties of care,

loyalty, reasonable inquiry, and good faith.

         89.    The Director Defendants engaged in a sustained and systematic failure to properly

exercise their fiduciary duties.    Among other things, the Director Defendants breached their

fiduciary duties of loyalty and good faith by permitting the use of inadequate practices and

procedures to guide the truthful dissemination of Company news to the investing public and to

the Company's shareholders, allowing or permitting false and misleading statements to be

disseminated in the Company's SEC filings and other public disclosures and, otherwise failing to

ensure that adequate internal controls were in place regarding the serious business reporting

issues and deficiencies described above. These actions could not have been a good faith exercise

of prudent business judgment to protect and promote the Company's corporate interests.




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          90.    As a direct and proximate result of the Director Defendants' failure to perform

their fiduciary obligations, the Company has sustained significant damages. As a result of the

misconduct alleged herein, the Director Defendants are liable to the Company.

          91.    As a direct and proximate result of the Director Defendants' breach of their

fiduciary duties, the Company has suffered damage, not only monetarily, but also to its corporate

image and goodwill. Such damage includes, among other things, costs associated with defending

and/or settling securities lawsuit, severe damage to the share price of the Company's stock,

resulting in an increased cost of capital, and reputational harm.

                                             COUNTIII

                (Against The Director Defendants For Waste Of Corporate Assets)

         92.     Plaintiffs incorporate by reference and reallege each and every allegation

contained above, as though fully set forth herein.

         93.     The wrongful conduct alleged regarding the issuance of false and misleading

statements was continuous, connected, and on-going throughout the time period in issue.           It

resulted in continuous, connected, and ongoing harm to the Company.

         94.     As a result of the misconduct described above, the Director Defendants wasted

corporate assets by, inter alia: (a) paying excessive compensation, bonuses, and termination

payments to certain of its executive officers; (b) awarding self-interested stock options to certain

officers and directors; and (c) incurring potentially millions of dollars of legal liability and/or

legal costs to defend and/or settle actions addressing Defendants' unlawful actions.

         95.     As a result of the waste of corporate assets, the Director Defendants are liable to

the Company.

         96.     Plaintiffs, on behalf of the Company, have no adequate remedy at law.


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                                                 COUNT IV

                       (Against the Individual Defendants for Unjust Enrichment)

          97.    Plaintiffs incorporate by reference and reallege each and every allegation set forth

above, as though fully set forth herein.

          98.    By their wrongful acts, violations of law, and false and misleading statements and

omissions of material fact that they made and/or caused to be made, the Individual Defendants

were unjustly enriched at the expense of, and the detriment of, Novavax.

          99.    The Individual Defendants either benefitted financially from the improper

conduct, or received bonuses, stock options, or similar compensation from Novavax that was tied

to the perfonnance or artificially inflated valuation of Novavax, or received compensation or

other payments that were unjust in light of the Individual Defendants' bad faith conduct. This

includes compensation received under the 2015 Stock Plan, which certain Individual Defendants

induced the Company's shareholders to amend and restate through false and misleading

representations.

          100.   Plaintiffs, as shareholders and representatives of Novavax, seek restitution from

the Individual Defendants and seek an order from this Court disgorging all profits, including

from insider transactions, the redemption of preferred stock, benefits, and other compensation,

including any performance-based or valuation-based compensation, obtained by the Individual

Defendants due to their wrongful conduct and breach of their fiduciary and contractual duties.

          101.   Plaintiffs, on behalf of the Company, have no adequate remedy at law.

                                                 COUNTY

                         (Against the Individual Defendants for Abuse Control)




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          102.    Plaintiffs incorporate by reference and reallege each and every allegation set forth

above, as though fully set forth herein.

          103.    The Individual Defendants' misconduct alleged herein constituted an abuse of

their ability to control and influence Novavax, for which they are legally responsible.

          104.    As a direct and proximate result of the Individual Defendants' abuse of control,

Novavax has sustained significant damages. As a result of the misconduct alleged herein, the

Individual Defendants are liable to the Company.

                                                  COUNT VI

                      (Against the Individual Defendants for Gross Mismanagement)

          I 05.   Plaintiffs incorporate by reference and reallege each and every allegation set forth

above, as though fully set forth herein.

          106.    By their actions alleged herein, the Individual Defendants, either directly or

through aiding and abetting, abandoned and abdicated their responsibilities and fiduciary duties

with regard to prudently managing the assets and business of Novavax in a manner consistent

with the operations of the publicly-held corporation.

          107.    As a direct and proximate result of the Individual Defendants' gross

mismanagement and breaches of duty alleged herein, Novavax has sustained and will continue to

sustain significant damages.

          108.    As a result of the misconduct and breaches of duty alleged herein, the Individual

Defendants are liable to the Company.

          109.    Plaintiffs, on behalf of the Company, have no adequate remedy at law.

                                                 COUNT VII

                    (Against the Individual Defendants for Waste of Corporate Assets)


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          110.   Plaintiffs incorporate by reference and reallege each and every allegation set forth

above, as though fully set forth herein.

          111.   The Individual Defendants caused the Company to pay the Individual Defendants

excessive salaries and fees, to the detriment of the shareholders and the Company.

          112.   As a result of the foregoing, and by failing to properly consider the interests of the

Company and its public shareholders, the Individual Defendants have caused Novavax to waste

valuable corporate assets, to incur many millions of dollars of legal liability and/or costs to

defend unlawful actions, to engage in internal investigations, and to lose financing from

investors and business from future customers who no longer trust the Company and its products.

          113.   As a result of the waste of corporate assets, the Individual Defendants and are

each liable to the Company.

          114.   Plaintiffs, on behalf of the Company, have has no adequate remedy at law.

                                     REQUEST FOR RELIEF

WHEREFORE, Plaintiffs demand judgment as follows:

         A.      Against all Defendants and in favor of the Company for the amount of damages

sustained by the Company as a result of Defendants' breaches of fiduciary duties;

         B.      Directing the Company to take all necessary actions to reform and improve its

corporate governance and internal procedures to comply with applicable laws and to protect the

Company and its shareholders from a repeat of the damaging events described herein, including,

but not limited to, putting forward for shareholder vote resolutions for amendments to the

Company's By-Laws or Articles of Incorporation and taking such other action as may be

necessary to place before shareholders for a vote a proposal to strengthen the Board's




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supervision of operations and develop and implement procedures for greater shareholder input

into the policies and guidelines of the Board;

            C.     Awarding to the Company restitution from Defendants, and each of them, and

ordering disgorgement of all profits, benefits and other compensation obtained by Defendants;

            D.     Awarding to Plaintiffs the costs and disbursements of the action, including

reasonable attorneys' fees, accountants' and experts' fees, costs, and expenses; and

            E.     Granting such other and further relief as the Court deems just and proper.

                                    DEMAND FOR TRIAL BY JURY
            Plaintiffs demand a trial by jury on all issues so triable.

Dated: December 28, 2021
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